                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                         Case No. 23-43403-mlo
                                               Chapter 11
Ark Laboratory, LLC,                           Hon. Maria L. Oxholm

                           Debtor.

                FIRST AMENDED STIPULATED FINAL ORDER
                 AUTHORIZING USE OF CASH COLLATERAL
                 AND GRANTING ADEQUATE PROTECTION

         THIS MATTER having come before the Court upon the Stipulation to Entry

  of the First Amended Final Order Authorizing Use of Cash Collateral and Granting

  Adequate Protection, and for sufficient cause,

         IT IS HEREBY ORDERED:

         1.    The terms of the Stipulated Final Order Authorizing Use Of Cash

  Collateral And Granting Adequate Protection (the “Final Cash Collateral Order”)

  [ECF No. 144] is amended as follows:

         a.    Consistent with Paragraphs 7 and 16 of the Final Cash Collateral Order,

  any advances made by, or to be made by, Auxo Investment Partners, LLC (“Auxo”),

  to or for the benefit of Debtor (the “Advances”), shall increase the amount of Auxo’s

  secured claim, and be given the same treatment as the Prepetition Indebtedness under

  the Final Cash Collateral Order, subject to the Carve Out modified below. The

  amount of the Advances provided by Auxo to the Debtor to fund the Debtor’s


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ongoing operations since July 20, 2023 through the date of the entry of this Order

has been $1,100,000 and Auxo expects to provide additional Advances to the Debtor

in an amount up to $300,000 between the date of the entry of this Order and the

closing on the sale subject to Debtor’s Motion to Approve (I) Bidding Procedures

and Form of Asset Purchase Agreement Relating to Sale of Substantially All of the

Debtor’s Assets; (2) The Sale of Substantially All of the Debtor’s Assets Free and

Clear of Liens, Claims, Interests and Encumbrances Pursuant to 11 U.S.C. §§ 105(A)

and 363; (3) Assumption and Assignment of Executory Contracts and Unexpired

Leases Pursuant to 11 U.S.C. § 365; and (4) Granting Related Relief (“Sale

Motion”)[ECF No. 145] currently set for September 28, 2023.

       b.    Paragraph 15 of the Final Cash Collateral Order shall be deleted and in

its place shall be substituted the following:

      “15. The Prepetition Liens, the Postpetition Liens and the adequate

protection granted to Auxo under this Order shall, in any event, in all cases be subject

and subordinate to a carve-out (the “Carve-Out”), which shall be comprised of the

following: (i) all fees required to be paid to the Clerk of the Court and to the U.S.

Trustee pursuant to 28 U.S.C. § 1930(a) (which will be paid in full and not be subject

to distribution pari passu with administrative expenses), (ii) subject to Court

approval, the sum of (A) and (B), where (A) is the aggregate amount of the Debtor’s

professional fees and disbursements which have been incurred, accrued, or invoiced


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(but remain unpaid) for any professional retained by an order of the Court under

Sections 327 or 328 of the Bankruptcy Code, and (B) is the aggregate amount of fees

and disbursements of the Debtors’ retained professionals up to $250,000.00 (which

will be paid in full and not be subject to distribution pari passu with administrative

expenses), and (iii) subject to Court approval, the sum of (C) and (D), where (C) is

the aggregate amount, of the Committee’s professional fees and disbursements

which have been incurred, accrued or invoiced (but remain unpaid) for any

professional retained by an order of the Court under Section 1102 of the Bankruptcy

Code, and (D) is the aggregate amount of fees and disbursements of any

Committee’s retained professionals up to $350,000 (which will be paid in full and

not be subject to distribution pari passu with administrative expenses). The Carve

Out granted hereunder (i) covers all Collateral, including prepetition, post-petition

and post-conversion, (ii) subordinates Auxo’s liens to the professional fees of Debtor

and the Committee awarded at any time, and (iii) survive conversion of this case to

chapter 7. All Carve Out Amounts paid for fees required to be paid to the Clerk of

the Court and to the U.S. Trustee pursuant to 28 U.S.C. § 1930(a) (which will be

paid in full), and for approved fees and expenses of the Debtor professionals and the

Committee professionals shall be held in the segregated DIP Professionals Account

that was opened by Debtor pursuant to the Final Cash Collateral Order. Fees and

expenses of Debtor and Committee professionals remain subject to application and


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approval of their fees by the Court under the Bankruptcy Code and the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”). The Carve Out shall be paid by

Auxo to Debtor’s professionals and the Committee’s professionals, with one-half

(50%) being funded in the DIP Professionals Account no later than September 28,

2023, and the other half (50%) being funded in the DIP Professionals Account no

later than December 1, 2023. In the event of a liquidation of the Debtor’s estate other

than by a sale of substantially all of the assets of Debtor, an amount equal to the

Carve Out shall be reserved from the proceeds of such liquidation, or from the

proceeds of Auxo’s collateral, with such proceeds or cash to be held in the DIP

Professionals Account, prior to the making of any distributions. All distributions

and withdrawals from the DIP Professionals Account shall require two (2)

signatures.”

      2.       All of the other terms of the Final Cash Collateral Order shall remain

in effect unless modified by entry of this Order.

Signed on September 27, 2023




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